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                                   STATEMENT OF FACTS

        Your affiant,                    , is a Special Agent with Federal Bureau of Investigation
(FBI), Department of Justice, and have been so employed since June 2014. I have received law
enforcement training from the FBI academy at Quantico, Virginia, and have since worked on a
variety of matters to include both criminal and national security violations. I am currently assigned
to the FBI Springfield Division’s Counterterrorism Squad where I have experience working both
international and domestic terrorism investigations. My current duties include investigating
criminal activity that occurred in and around the United States Capitol grounds on January 6, 2021.
I am authorized by law or by a government agency to engage in or supervise the prevention,
detection, investigation, or prosecution of a violation of Federal criminal laws. During my
investigations, I have interviewed subjects and witnesses regarding allegations, prepared
subpoenas for financial, telephone and online information, and I have analyzed these records to
identify information pertinent to the investigation. I have prepared and executed numerous search
warrants both at physical locations and for online data. Over the course of my career, I have
become familiar with the manner in which criminal activity is carried out, and the efforts of persons
involved in such activity to avoid detection by law enforcement. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
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and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                     Facts Specific to Andrew Settles

       As part of the FBI investigation into the attack on the United States Capitol, the FBI
reviewed records obtained from Google, Inc., public video, closed circuit video (“CCV”) footage
and police body worn camera (“BWC”) footage depicting events at the U.S. Capitol Building
and grounds on January 6, 2021. These records and video footage led to the identification of
ANDREW SETTLES (“SETTLES”) as discussed below.

                      SETTLES’ Activities at the U.S. Capitol on January 6, 2021

       I obtained records from Google, Inc. that showed that cellular telephone number, XXX-
XXX-9021, was found to be at the location of the U.S. Capitol Building in Washington, D.C.
during the time period between 2:50 p.m. and 4:34 p.m. on January 6, 2021. The approximate
geo-coordinates of the device associated with telephone number XXX-XXX-9021 showed that
the device was likely physically inside the U.S. Capitol Building during this time. These Google
records also showed that the phone number was associated with the email address
Axxxxx.sxxxxx@gmail.com, which is a variation of SETTLES’ name.

      I obtained records from AT&T which indicated that cellular telephone number, XXX-
XXX-9021, was subscribed to ANDREW T. SETTLES, who possessed contact email address
Axxxxx.sxxxxx@gmail.com, and a user address in Jerseyville, IL. A query of IL DMV records for
ANDREW SETTLES identified an individual residing in Jerseyville with the same address as provided
by AT&T for SETTLES.

       I reviewed video footage from the U.S. Capitol Building on January 6, 2021, which
document SETTLES’ actions that day. SETTLES is wearing dark shoes, jeans, a gray zip-up
hooded sweatshirt, wearing a backpack and holding a cellular telephone. SETTLES entered the
Senate Wing Door at approximately 2:57 p.m., and appeared to be by himself. Image 1.
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                                           Image 1

     SETTLES walked toward the Crypt, where he wandered around. Image 2.




                                           Image 2

     SETTLES exited the building via the Memorial Door at approximately 3:33 p.m. Image
3.
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                                                 Image 3

        SETTLES spent approximately 35 minutes in the U.S. Capitol Building. When he exited
the U.S. Capitol Building, he raised his fists into the air in what appeared to be a celebratory
gesture. Image 4




                                                 Image 4

       On September 23, 2022, I visited SETTLES’ residence in Jerseyville, Illinois. I spoke
with SETTLES, whose appearance was consistent with the person I saw in CCV footage of the
U.S. Capitol Building on January 6, 2021, and Illinois DMV records that identified SETTLES.
SETTLES refused to speak with me, indicating that he had a lawyer.

                                               Conclusion

         Based on the foregoing, your affiant submits that there is probable cause to believe that
SETTLES violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do so; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions. For purposes of Section 1752 of
Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a
building or grounds where the President or other person protected by the Secret Service, including
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the Vice President, is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that SETTLES violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, 31st day of May 2024.


                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE
